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                 EXHIBIT E
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 1

 2               UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF NEW YORK
 3
               CASE No. 20 CIV. 7311           (LAK) (JLC)
 4

 5   E. JEAN CARROLL,

 6               Plaintiff,

 7   -vs-

 8   DONALD J. TRUMP,
     in his personal capacity,
 9
                Defendant.
10   _________________ !
11

12

13                               =   =   =
14                            CONFIDENTIAL

15                               =   =   =
16

17          VIDEOTAPED DEPOSITION OF DONALD J. TRUMP

18
                   Wednesday, October 19, 2022
19                   10:22 a.m. - 3:50 p.m.

20                     The Mar-a-Lago Club
                    1100 South Ocean Boulevard
21                 Palm Beach, Florida, Florida

22

23   Stenographically Reported By
     Pamela J. Pelino, RPR, FPR, CLR
24   Notary Public, State of Florida
     TSG REPORTING                                                  PLAINTIFF's
25   JOB NO. 218342                                                  EXHIBIT
                                                                     PX-167-T
                                                                    20 Civ. 7311 (LAK)



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 1                              D. J. TRUMP

 2   APPEARANCES:

 3   On behalf of the Plaintiff:

 4        ROBERTA KAPLAN, ESQ.
          MATTHEW CRAIG, ESQ.
 5        SHAWN CROWLEY, ESQ.
          JOSHUA MATZ, ESQ.
 6        KAPLAN HECKER & FINK LLP
          350 Fifth Avenue
 7        New York, New York 10118

 8

 9   On behalf of the Defendant:

10        ALINA HABBA, ESQ.
          MICHAEL MADAIO, ESQ.
11        HABBA MADAIO & ASSOCIATES LLP
          1430 US Highway 206
12        Bedminster, New Jersey 07921

13

14   Videographer:

15        DAVID GRIFFIN

16

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 1                              D. J. TRUMP




21        Q.      And by the early 1990s, would it be fair

22   to call you or to characterize you as a real estate

23   tycoon?

24        A.      Yeah.

25        Q.      Trump Tower on Fifth Avenue, that was
       Case 1:20-cv-07311-LAK Document 331-5 Filed 03/26/24 Page 5 of 46

                                                                           Page 13
 1                              D. J. TRUMP
 2   completed in 1983?
 3        A.      Around that time, yes.
 4        Q.      And when did you move into the -- your
 5   penthouse apartment there?
 6        A.      Maybe a year later.
 7        Q.      And that remained your primary residence
 8   until you were elected president; correct?
 9        A.      That's right.




17                And at some point you became the owner of
18   the Plaza Hotel in New York; correct?
19        A.      Yes.




24                During what years were you the owner of
25   the Plaza Hotel?
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                                                                          Page 14
1                              D. J. TRUMP
2        A.      I don't know the years.           About five
3   years.
4        Q.      Do you know when it began?             When you
5   bought it?
6        A.      In the early '90s.
7        Q.      Okay.     Now, when did you purchase the
8   property we are at today, Mar-a-Lago?
9        A.      1986.
      Case 1:20-cv-07311-LAK Document 331-5 Filed 03/26/24 Page 7 of 46

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1                              D. J. TRUMP




5   BY MS. KAPLAN:
6        Q.      What years were you married to your first
7   wife, Ivana Trump?
8        A.      So about '78 to the early '90s.
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 1                              D. J. TRUMP




 4        Q.      Okay.     Your next wife was a woman by the
 5   name of Marla Maples?
 6        A.      Yes.    Right.
 7        Q.      And sitting here today, do you recall
 8   what years you were married to Ms. Maples?
 9        A.      I'd have to get the exact dates for you.
10   I can do that very easily.
11        Q.      Okay.     I have written down -- I could be
12   wrong, but I have written down 1983 to 1999.                 Does
13   that sound about right?
14        A.      About right, yeah.
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 1                              D. J. TRUMP




11         Q.     When you were president -- and I don't
12   want you to give me any substance, but did you ever
13   speak directly to reporters?
14         A.     Yes.
15         Q.     Which reporters did you speak directly
16   to?
17         A.     A lot of reporters.          I'd have news
18   conferences, and you'd have everybody there.
19         Q.     Withdrawn.       I'm talking about on the
20   phone privately.
21         A.     Yeah, on the phone also.
22         Q.     And which reporters would you speak to on
23   the phone privately?
24         A.     I think too many to name.
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 1                              D. J. TRUMP




 9          Q.     I'm handing you a document that's been
10   marked as DJT 18.        It bears the Bates range Carroll
11   24378 through 24385.         Do you have that in front of
12   you?
13          A.     Yeah.
14          Q.     Sitting here today, do you recognize this
15   document?
16          A.     No.
17          Q.     I will represent to you that this is the
18   excerpt from Ms. Carroll's book that was published
19   in New York Magazine online -- originally online on
20   June 21, 2019.
21          A.     Okay.
22          Q.    At any point in time, did you read this
23   article?
24          A.     Excuse me?
25          Q.     Did you ever read this article?              This
       Case 1:20-cv-07311-LAK Document 331-5 Filed 03/26/24 Page 11 of 46

                                                                            Page 55
 1                              D. J. TRUMP
 2   document in front of
 3        A.       No, I don't believe I did.




 7        Q.       I've handed you a book marked as DJT 19,
 8   a book by E. Jean Carroll.           It says What Do We Need
 9   Men For, and if you look at the publication date, it
10   says first edition July 2019.            Do you have that?
11        A.       Yes.
12        Q.       Do you have that book in front of you?
13        A.       Yeah.
14        Q.       Sitting here today, sir, have you ever
15   read this book either in its entirety or any portion
16   of this book?
17        A.       No, never have.        I've never seen the book
18   actually.
       Case 1:20-cv-07311-LAK Document 331-5 Filed 03/26/24 Page 12 of 46

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 1                              D. J. TRUMP




 8   You responded publicly to Ms. Carroll's allegations
 9   on the same day that the excerpt was published in
10   the New York Magazine, which was June 21, 2019;
11   correct?
12        A.       I think so.
       Case 1:20-cv-07311-LAK Document 331-5 Filed 03/26/24 Page 13 of 46

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 1                              D. J. TRUMP




 6                 So what we've handed you as DJT 20 is a
 7   blown-up, for legibility purposes, version of a
 8   tweet posted by a woman by the name of Laura Littman
 9   at 5:17 p.m. on June 21, 2019.            Do you have that in
10   front of you?
11           A.    Yes.




15           Q.    The statement that is in this tweet, is
16   this a statement that you gave?
17           A.    I mean, essentially that's what I said,
18   yeah.
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 1                              D. J. TRUMP




 5                 If you could read that statement into the
 6   record.




14        Q.       It says:      "Statement from President
15   Donald J. Trump.       Regarding the 'story' by
16   E. Jean Carroll claiming she once encountered me at
17   Bergdorf Goodman 23 years ago, I've never met this
18   person in my life.        She's trying to sell a new book.
19   That should indicate her motivation.               It should be
20   sold in the fiction section.            Shame on those who
21   make up false stories of assault, who try to get
22   publicity for themselves or sell a book or carry out
23   a political agenda like Julie Swetnick, who falsely
24   accused Justice Brett Kavanaugh.             It's just as bad
25   for people to believe it, particularly when there is
       Case 1:20-cv-07311-LAK Document 331-5 Filed 03/26/24 Page 15 of 46

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 1                              D. J. TRUMP
 2   zero evidence.        Worse still for a dying publication
 3   to try to prop itself up by pedaling fake news.
 4   It's an epidemic.        Ms. Carroll in New York Magazine:
 5   No pictures, no surveillance, no videos, no reports,

 6   no sales attendants around???            I would like to thank
 7   Bergdorf Goodman for confirming they have no video
 8   footage of any such incident because it never
 9   happened.     False accusations diminish the severity
10   of real assault.       All should condemn false
11   accusations and any actual assault in the strongest
12   possible terms.        If anyone has information that the
13   Democratic party is working with Ms. Carroll or
14   New York Magazine, please notify us as soon as
15   possible.     The world should know what's really going
16   on.   It's a disgrace, and people should pay dearly
17   for such false accusations."            Do you see that?
18   That's what you have in front of you?
19         A.      Yeah.
20         Q.     And I think you've already confirmed that
21   this is a statement that you gave to someone on your
22   staff to give to the press?
23         A.      Yeah.
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1                              D. J. TRUMP


3        Q.       Sitting here today, do you stand by this
4   statement?
5        A.       Yes.
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                                                                            Page 61
 1                              D. J. TRUMP




 6                 MS. KAPLAN:      Let's mark as DJT 21 a
 7        document bearing the Bates range -- hold on

 8        DJT 21, a document bearing the Bates range

 9        MP1795 through MP1807.

10                 {DJT Exhibit 21 was marked for
11   identification.)
12   BY MS. KAPLAN:
13        Q.       Do you have that in front of you?

14        A.       Yeah.




22        Q.      And these are statements that were put
23   out when you were the president of the United

24   States?
25        A.       Yeah.
       Case 1:20-cv-07311-LAK Document 331-5 Filed 03/26/24 Page 18 of 46

                                                                            Page 62
 1                              D. J. TRUMP
 2        Q.      And if you look at the top email, the
 3   address of the email, it says under that "Remarks by

 4   President Trump before Marine One departure"?

 5        A.       Yes.

 6        Q.       Marine One is a helicopter?
 7        A.       Yes.

 8        Q.      And if you look where it shows you

 9   speaking about halfway or two-thirds of the way down

10   the document, the very first thing you say:                 "So
11   we're going to Camp David"?
12        A.       Yes.
13        Q.       So am I correct in interpreting this --
14   that this is a statement you made while boarding or
15   getting onto Marine One --

16        A.       Looks like it.
17        Q.           to go to Camp David?

18        A.       It looks like it.
       Case 1:20-cv-07311-LAK Document 331-5 Filed 03/26/24 Page 19 of 46

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 1                              D. J. TRUMP




 7                 I take it you stand by that statement
 8   today?
 9        A.       Yes.
10        Q.       Sitting here today, are you aware of any
11   inaccuracies in your statement?             I'm not asking
12   about her allegation.         About your statement.
13        A.       No.    I think it's pretty much fine.             I
14   can't -- I haven't reviewed it in great detail, but,
15   you know, it was standing outside of a helicopter
16   that was getting ready to take off.              But, no, that
17   was -- that -- the statement is, in my opinion,
18   correct.
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 1                               D. J. TRUMP


 3           Q.      You have in front of you, sir, a
 4   five-page document.         The first page says in bold
 5   type "Exclusive:        Trump vehemently denies
 6   E. Jean Carroll allegation.            Says she's not my
 7   type. II

 8                    It's from a publication known as The
 9   Hill.        It's dated June 24, 2019, and it's attributed
10   to the gentleman Jordan Fabian and -- or maybe not
11   the gentleman.         It's attributed to two people,
12   Jordan Fabian and Saagar Enjeti.              Do you see that?
13           A.      Yes.
14           Q.      So this is two days after the last
15   statement we're looking at, which is on June 22nd.
16                   Do you recall having an interview with
17   reporters from The Hill on June 24, 2019?
18           A.      Vaguely, yes.
19           Q.      And do you recall where that interview
20   took place?
21           A.       I think it was in the Oval Office.
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 1                                D. J. TRUMP




 7           Q.      And you're quoted just below that
 8   paragraph as saying as follows               and this one I'll
 9   read:        "I'll say it with great respect.          Number one,
10   she's not my type.        Number two, it never happened.
11   It never happened.        Okay?"
12                   And then the reporters say:           "The
13   president said,        'Well, see you behind the Resolute
14   Desk in the Oval Office.'"           Do you see that?
15           A.      Yes, I do.
16           Q.      And the statement that I just read that
17   begins "I'll state with great respect," that was a
18   statement that you made to the reporter for The Hill
19   on June 24, 2019; correct?
20           A.      Yes.
21           Q.      And the same set of questions.            I take
22   it, sir, that you stand by that statement today?
23           A.      Yes, I do.
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 1                              D. J. TRUMP




 4        Q.       In your June 21 statement that's marked
 5   as Exhibit 20, you say -- and this is the Littman
 6   tweet -- "I never met this person in my life."
 7        A.       Yes.
 8        Q.       Was that a true statement when you made
 9   it on June 21, 2019?
10        A.       It was a true statement when I made it.
11   I think subsequently or at some point they showed a
12   picture on a receiving -- I was on a celebrity line
13   for a charity, and I think I was either shaking her
14   hand or her husband's hand on a receiving line.
15   Like I say, I shake a lot of hands with people, but
16   I had no idea who she was.
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 1                              D. J. TRUMP




21        Q.       You have in front of you a black and
22   white photograph that we've marked as DJT 23.                  And
23   I'm going to ask you:         Is this the photo that you
24   were just referring to?
25        A.       I think so, yes.
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 1                              D. J. TRUMP
 2         Q.     And do you recall when you first saw this
 3   photo?
 4         A.     At some point during the process, I saw
 5   it.   I guess that's her husband, John Johnson, who
 6   was an anchor for NBC.         Nice guy, I thought.           I
 7   mean, I don't know him, but I thought he was pretty
 8   good at what he did.         I don't even know the woman.
 9   I don't know who -- it's Marla.
10         Q.      You're saying Marla is in this photo?
11         A.      That's Marla, yeah.         That's my wife.
12         Q.      Which woman are you pointing to?
13                 MS. HABBA:      No, that's Carroll.
14                 THE WITNESS:       Oh, I see.
15   BY MS. KAPLAN:
16         Q.      The person you just pointed to was
17   E. Jean Carroll.
18                 MS. HABBA:      That's your wife.
19   BY MS. KAPLAN:
20         Q.     And the person -- the woman on your right
21   was
22         A.      I don't know.       This was the picture.             I
23   assume that's John Johnson.
24                 MS. HABBA:      That's Carroll.
25                 THE WITNESS:       That's Carroll?          Because


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1                            D. J. TRUMP
2      it's very blurry.
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 1                              D. J. TRUMP




 6        Q.       Now, in your June 21 statement, which
 7   is -- in your June 21 statement, which is DJT 20,
 8   you said that Ms. Carroll was trying to sell a new
 9   book and that you said shame on those who make up
10   false stories of assault to try to get publicity for
11   themselves or sell a book?
12        A.       Yeah, that's right.
13        Q.       Before you made that statement, did you
14   have any knowledge one way or the other of the
15   financial arrangements between Ms. Carroll and the
16   publisher of her book?
17        A.       No.

18        Q.       Did you even know who her publisher was?
19        A.       No.
20        Q.       Did you ever see her book contract?
21        A.       No.
22        Q.       Did you know anything about Ms. Carroll's
23   financial situation?

24        A.       No.
25        Q.       Did you know anything about her expected
       Case 1:20-cv-07311-LAK Document 331-5 Filed 03/26/24 Page 27 of 46

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 1                              D. J. TRUMP
 2   book sales?
 3        A.       No idea.




 7                 Before you made this statement that
 8   appears in DJT 20, do you know whether you or anyone
 9   working for you did any research on Ms. Carroll?
10        A.       I just don't know.         It's possible
11   somebody       when they heard this horrible
12   accusation, it's possible that somebody did a little
13   quick research but not that I know of.
14        Q.       Another thing that you say in your June
15   21 statement is that Ms. Carroll was trying to carry
16   out a political agenda?
17        A.       Yeah.
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 1                              D. J. TRUMP




18        Q.       Before issuing your statement on June 21,
19   did you learn what political party Ms. Carroll
20   belonged to?
21        A.       No, I didn't know that.
22        Q.       Before you issued your June 21 statement,
23   did you have any documents indicating that she was
24   pursuing a political agenda?
25        A.       No.
       Case 1:20-cv-07311-LAK Document 331-5 Filed 03/26/24 Page 29 of 46

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 1                              D. J. TRUMP
 2        Q.      At the end of your statement, your June
 3   21 statement, you say:          "If anyone has information
 4   that the Democratic party is working with
 5   Ms. Carroll or New York Magazine, please notify us
 6   as soon as possible."
 7                 Did anyone ever notify you --
 8        A.       I don't know.
 9        Q.       Sitting here today, you can't recall
10   anyone who notified you?
11        A.       I don't know, yeah.
       Case 1:20-cv-07311-LAK Document 331-5 Filed 03/26/24 Page 30 of 46

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 1                              D. J. TRUMP




19                 One of the other things that you said

20   about Ms. Carroll at the time appears in your June

21   24 statement, which is DJT 22, and what you said

22   there is:     "I'll say it with great respect.              Number

23   one, she's not my type."

24                 When you said that Ms. Carroll was not

25   your type, you meant that she was not your type
       Case 1:20-cv-07311-LAK Document 331-5 Filed 03/26/24 Page 31 of 46

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 1                              D. J. TRUMP
 2   physically; right?
 3           A.    I saw her in a picture.           I didn't know
 4   what she looked like, and I said it                 and I say it
 5   with as much respect as I can, but she is not my
 6   type.
 7           Q.   And, again, when you say "type," you just
 8   referred to looking at photos.            So you mean
 9   physically she's not your type?
10           A.    Physically she's not my type, and now
11   that I've gotten indirectly to hear things about
12   her, she wouldn't be my type in any way, shape, or
13   form.
14           Q.    But when you were talking back on June
15   24th, you were referring to her not being your type
16   physically; correct?
17           A.    I saw a photo of her.
18           Q.    Okay.
19           A.   And the only difference between me and
20   other people is I'm honest.           She's not my type.
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1                              D. J. TRUMP




4        Q.       I take it the three women you've married
5   are all your type?




8                 THE WITNESS:       Yeah.
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 1                              D. J. TRUMP




 6        Q.       Okay.    And I'm just going to use
 7   categories.     In addition to the people that I
 8   mentioned, do you recall any conversations with
 9   anyone in the legislative branch -- and by that I

10   mean the House or the Senate or people who work
11   there.
12        A.       Well, it's probable that I told people
13   that there was a false, disgusting lie made about me
14   because I would say that to a lot of people.                  Even
15   if they didn't ask, I was very offended by this.
16   This woman is sick.        There's something wrong with
17   her, and it's a false story.            So I would go around
18   saying that to people, yes.           So it's possible that I
19   would say that to legislators.
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 1                              D. J. TRUMP




22        Q.       What is Truth Social?
23        A.       It's a platform that's been opened by me
24   as an alternative to Twitter.
25        Q.      And your handle on Truth Social is
      Case 1:20-cv-07311-LAK Document 331-5 Filed 03/26/24 Page 35 of 46

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1                              D. J. TRUMP
2   @realdonaldtrump?
3        A.       I believe so, yes.
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 1                              D. J. TRUMP




 5        Q.       Okay.    Now, on October 12, just a few
 6   days ago, you issued a statement on Truth Social
 7   about Ms. Carroll and this case; correct?
 8        A.       I believe so, yes.
 9        Q.      And the statement that you posted, who
10   wrote that statement?
11        A.       I did.
12        Q.       You yourself?
13        A.       Yeah.
14        Q.       Did you post the statement yourself?
15        A.       Yes.
16        Q.      And in addition to posting the statement
17   on Truth Social, you also sent it to the press?
18        A.       Yes.     It's called truth and post.            We
19   post much like -- how would you say it?                We put out
20   a statement, and we also put it on Truth.
21        Q.      And when you say you put it out
22        A.       Like a public relations statement.
23        Q.       It goes, like, to an email list of
24   reporters?
25        A.       Yeah, whatever.        Yeah.     The bigger grab
      Case 1:20-cv-07311-LAK Document 331-5 Filed 03/26/24 Page 37 of 46

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1                              D. J. TRUMP
2   is The Truth, but we also -- we call it posts.                  We
3   have -- actually it's truth and post.               So we call it
4   post.   But the bigger           the more important of the
5   two is The Truth because people are watching it.
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 1                              D. J. TRUMP




 6          Q.     Why did you decide to issue the statement
 7   on Truth Social on October 12th?
 8          A.     Because I was offended at this woman's
 9   lie.    Because I was offended that she could just
10   make up a story out of cold air, refuted by her
11   testimony on CNN, but that she could make up a story
12   just out of nowhere and that I get a phone call
13   asking me about this ridiculous situation.                 The
14   woman -- there's something wrong with her in my
15   opinion.    Okay.     But it's a false accusation.               Never
16   happened, never would happen.            And I posted and I
17   will continue to post until such time as -- and then
18   I will sue her after this is over, and that's the
19   thing I really look forward to doing.               And I'll sue




25   but I'll be suing her very strongly as soon as this
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 1                              D. J. TRUMP
 2   case ends.     But I'll be suing you also.
 3        Q.      Are you done?
 4        A.       Yeah.




11                 MS. KAPLAN:      Let's look at the statement.
12        Let's mark it as -- what's my next number?
13                 MR. MADAIO:      DJT 28.




16                 THE WITNESS:       I can't read this.
17                 MS. KAPLAN:      Well, we have a blown-up
18        version.
19   BY MS. KAPLAN:
20        Q.       Let's mark it as 28 and 28A.
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10        Q.      And now that you've heard it again and
11   you have it in front of you, you again confirm that
12   you wrote the whole thing yourself?
13        A.       I wrote it all myself.          All myself.
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 9        Q.       Now, when you say in here I don't know
10   this woman and have no idea who she is, even though
11   you're using the present tense, you're referring
12   back to your knowledge as of when she first made the
13   allegation
14        A.       I still don't know this woman.              I think
15   she's a wack job.        I have no idea.        I don't know
16   anything about this woman other than what I read in
17   stories and what I hear.          I know nothing about her.
18        Q.       Okay.    Well, I guess the distinction I'm
19   trying to make, sir, is that when the allegation
20   came out in 2019, you said you               I think it's your
21   testimony that you had no idea who she was.
22        A.       I still don't.
23        Q.       Well, today you at least know that she's
24   a plaintiff in a case suing you; correct?
25        A.       Oh, yes.     That, I know, but I know
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2   nothing about her.        I think she's sick, mentally
3   sick.
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16        Q.          Now, in your Truth Social statement on

17   October 12, you use the word          11   hoax. 11   Specifically

18   you say:    II   It is a hoax and a lie just like all of

19   the other hoaxes that have been played on me for the
20   past seven years. II      Do you see that - -
21        A.          Yeah.
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 3        Q.       Fair to say -- you'd agree with me, would
 4   you not, that you use the term "hoax" quite a lot?
 5        A.       Yes, I do.
 6        Q.       CNN reported that you used it more than
 7   250 times in 2020.        Does that sound right?
 8        A.       Could be.      I've had a lot of hoaxes
 9   played on me.      This is one of them.
10        Q.      And how would you define the word "hoax"?
11        A.      A fake story, a false story, a made-up
12   story.
13        Q.       Something that's not true?
14        A.       Something that's not true, yes.
15        Q.       Sitting here today, can you recall what
16   else you have referred to as a hoax?
17        A.       Sure.




20                 THE WITNESS:       The Russia Russia Russia
21        hoax.     It's been proven to be a hoax.              Ukraine
22        Ukraine Ukraine hoax.           The Mueller situation
23        for two and a half years hoax ended in no
24        collusion.       It was a whole big hoax.           The lying
25        to the FISA court hoax, the lying to Congress
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 2           many times hoax by all these people, the scum
 3           that we have in our country, lying to Congress

 4           hoax, the spying on my campaign hoax.              They

 5           spied on my campaign, and now they admit it.

 6           That was another hoax, and I could get a whole
 7           list of them.      And this is a hoax too.



 9           Q.       This -- when you say "this" and "that"

10           A.       This ridiculous situation that we're
11   doing right now.          It's a big, fat hoax.        She's a
12   liar and she's a sick person in my opinion.                 Really
13   sick.        Something wrong with her.
14           Q.       Okay.    In addition to the Russia Russia
15   Russia hoax, the Ukraine Ukraine Ukraine hoax, the
16   Mueller or Mueller hoax, the lying to FISA hoax, the
17   lying to Congress hoax, and the spying on your
18   campaign hoax, isn't it true that you also referred
19   to the use of mail-in ballots as a hoax?
20           A.       Yeah, I do.    Sure.


22                    THE WITNESS:    I do.     I think they're very
23           dishonest.       Mail-in ballots, very dishonest.
24   BY MS.       KAPLAN:
25           Q.       And isn't it true that you yourself have
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2   voted by mail?


4                 THE WITNESS:       I do.     I do.    Sometimes I
5        do.    But I don't know what happens to it once
6        you give it.        I have no idea.
